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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                        STATESBORO DIVISION

MILBY WINN and SYLVIA WINN,                 )
                                            )
                Plaintiffs,                 )
                                            )
v.                                          )
                                            )                  Civil Action No.
SCREVEN GIN CO., INC.,                      )                 CV621-091
                                                              ________________
GROWERS GIN HOLDINGS, LLC,                  )
and JOHN DOE,                               )

                  Defendants.
                                  COMPLAINT

      COME NOW Plaintiffs in the above-styled action, and hereby file this

Complaint for Damages as follows:

                                       1.

      Defendant Screven Gin Co., Inc. (“Screven Gin”) is a Georgia corporation

with its principal place of business in Georgia, and can be served through its

registered agent: Duane Bargeron, 565 Bascom Road, Sylvania, GA 30267.

                                       2.

      Defendant Screven Gin has been properly served with process in this action.

                                       3.

      Jurisdiction and venue are proper as to Defendant Screven Gin.
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                                           4.

      Defendant Growers Gin Holdings, LLC (Growers Gin) is a Georgia limited

liability company, and can be served through its registered agent: Duane Bargeron,

565 Bascom Road, Sylvania, GA 30267.

                                           5.

      Defendant Growers Gin has been properly served with process in this action.

                                           6.

      Jurisdiction and venue are proper as to Defendant Growers Gin.

                                           7.

      To the best of Plaintiffs’ knowledge and belief, Defendant Growers Gin

Holdings, LLC has four individual members: Dan R. Taulbee, John Christopher

Mallard, Samuel Gaines Story, and Don Ivey Burke. All four of these individuals

are residents of Georgia and were residents of Georgia on November 14, 2020.

                                           8.

      John Doe is the person understood to have been operating the subject forklift

or farm equipment that struck Plaintiff at the time of the subject incident. Plaintiff

has a good faith belief that John Doe is and was at all relevant times a resident of

Georgia. Plaintiff does not currently know the identity of the operator so

accordingly identifies him as John Doe in Plaintiff’s Complaint. However,

Plaintiff will work with defense counsel to substitute the proper party for John Doe


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upon disclosure of John Doe’s identity.

                                       9.

      Plaintiffs are residents of Texas and were residents of Texas on November

14, 2020.

                                       10.

      This Court has diversity jurisdiction over the claims in this Complaint

pursuant to 28 U.S.C. § 1332(a)(1) because the amount in controversy exceeds the

sum of $75,000.00 and the claims are between citizens of different states.

                                       11.

      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant

Screven Gin resides in the Southern District of Georgia and the subject incident

occurred in the Southern District of Georgia.

                                             12.

      At all relevant times, Defendants individually or jointly managed,

controlled, and operated the subject cotton gin facility and equipment therein

located at 565 Bascom Rd., Sylvania, GA 30467. Defendant Growers Gin owned

the subject premises.

                                       13.

      On November 14, 2020, Plaintiff Milby Winn was working as a truck driver

for West Star Transportation, Inc. and was a business invitee at the Screven Gin


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facility located at 565 Bascom Rd., Sylvania, GA 30467, where he had been

assigned to make a delivery.

                                        14.

      At approximately 12:00 p.m. on November 14, 2020, while on Defendants’

premises and as Plaintiff Milby Winn was returning to his truck after unloading the

delivery, Plaintiff sustained serious and permanent injuries when John Doe, an

employee of one or more of the Defendants, while acting within the course and

scope of his employment, negligently and without warning drove a forklift or other

mechanized farm equipment into and over Plaintiff, crushing the bones in

Plaintiff’s left foot, fracturing his neck, and causing partial amputation of his foot.

                                        15.

      Defendants’ employee John Doe operated the forklift or mechanized farm

equipment negligently by driving the machine forward while fully loaded with a

cotton bail such that it blocked his view and by failing to sound the forklift’s horn

before moving or otherwise provide any warning to Plaintiff.

                                        16.

      As a direct and proximate result of Defendants’ negligence, Plaintiff Milby

Winn sustained a cervical fracture and multiple crushed bones in his foot that

subsequently required amputation of three of his left toes.




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                                        17.

      As a direct and proximate consequence of the wrongful acts and omissions

of Defendants, Plaintiff Milby Winn sustained severe and ongoing physical,

mental, and emotional injuries, and has experienced continuing pain and suffering.

Defendants’ acts were a cause-in-fact and a proximate cause of such injuries, pain,

and suffering to Plaintiff Milby Winn. Defendants are jointly and severally liable.

                                        18.

      At all relevant times and under the circumstances then existing on November

14, 2020, Plaintiff Milby Winn acted with reasonable care, and was completely

free of any negligence in the incident at issue.

                                        19.

      Defendants negligently failed to enact, promulgate, implement, or enforce

policies and procedures for the safe operation of forklifts or other farm equipment,

including, but not limited to, ensuring the equipment was operated safely, safety

devices on the equipment were working and enabled, and the equipment was

properly inspected and maintained.

                                        20.

      Defendants negligently failed to provide proper forklift or other equipment

operation training, instruction, and certification to Defendants’ employees,

including John Doe.


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                                        21.

      Defendants were negligent in failing to remove unsafe or defective forklift

or other farm equipment from service.

                                        22.

      Defendants’ negligence proximately caused Plaintiffs’ injuries in the

following ways:

      a) Violation of 29 C.F.R. § 1910.178(l) et seq. by negligently failing to ensure

         that the operator was competent to operate the forklift or farm equipment

         safely, was properly trained, and had received instructions, warnings, or

         precautions listed in the operator’s manual for the subject equipment;

      b) Violation of 29 CFR § 1910.178(n)(1) by negligently failing to maintain

         the subject forklift or equipment under proper control;

      c) Violation of 29 CFR § 1910.178(n)(4) by negligently failing to sound the

         horn on the forklift or equipment where the operator’s vision was

         obstructed;

      d) Violation of 29 CFR § 1910.178(n)(6) by negligently failing to look in the

         direction of, and keep a clear view of the forklift’s or other equipment’s

         path of travel;

      e) Violation of 29 CFR § 1910.178(n)(8) by negligently operating the

         subject forklift or equipment at an unsafe speed;


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f) Violation of 29 CFR § 1910.178(q)(1) by negligently operating a forklift

   or equipment not in safe operating condition;

g) Violation of 29 CFR § 1910.178(q)(7) by negligently failing to examine

   the forklift or equipment before operating it;

h) Violation of American National Standards Institute Standard B56.6-2011

   paragraph 6.2.6 in failing to safeguard pedestrians at all times;

i) Violation of OSH Act of 1970 Sec. 5(a) by negligently failing to furnish

   employees a place of employment free from recognized hazards likely to

   cause death or serious physical harm;

j) Violation of additional federal, state, and local laws, codes, rules, and

   regulations as may be proven at trial;

k) Negligently failing to sound the forklift’s or equipment’s horn or

   otherwise provide a warning to pedestrians, including Plaintiff;

l) Negligently failing to exercise due care;

m) Negligently operating the subject forklift or equipment in an unsafe

   manner;

n) Negligently failing to keep a proper lookout;

o) Negligently failing to avoid striking Plaintiff;

p) Negligent hiring, retention, training, and supervision of employees,

   including the subject operator;


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      q) Negligently failing to implement proper policies and procedures for safe

          operation of the subject forklift or farm equipment;

      r) Negligently failing to provide a safe area for forklift or equipment

          operation at the subject facility;

      s) Negligently failing to place warning signs relating to forklift or

          equipment use;

      t) Negligently failing to designate a forklift or equipment pathway to

          demarcate pedestrian versus equipment areas;

      u) Negligently failing to create a site-specific safety plan relating to

          dangerous equipment being operated on the subject premises;

      v) Negligent entrustment of the forklift or equipment to Defendants’

          employees, including the operator at issue; and

      w) Any other acts or omissions constituting negligence that may be proven

          at trial.

                                         23.

      At all times referenced herein, John Doe was an employee and/or agent

working within the course and scope of his employment with one or more

Defendants. Thus, Defendants are liable for the actions and inactions of the

operator under theories of respondeat superior, vicarious liability, and agency

principles.


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                                        24.

      Defendants negligently employed, retained, trained, and supervised

employees, including John Doe, on the subject premises and are liable under theories

of agency, respondeat superior, and vicarious liability.

                                        25.

      Defendants were and are negligent per se.

                                        26.

      The injuries sustained by Plaintiff Milby Winn were the direct and

proximate result of Defendants’ negligence. But for Defendants’ negligence,

Plaintiff would not have suffered serious injuries, physical pain, mental and

psychological suffering and other injuries as proven at the trial of this matter.

                                        27.

      As a result of his injuries, Plaintiff Milby Winn has incurred reasonable,

necessary, and substantial medical expenses in an amount which will be proven at

the time of trial and will continue to incur said expenses as future medical care is

needed, likely exceeding $110,000.00.

                                        28.

      As a result of Defendants’ negligence, Plaintiff Milby Winn has incurred

lost wages and diminished capacity to labor in an amount to be proven at trial.




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                                         29.

      Plaintiff Sylvia Winn is the lawful wife of Milby Winn and suffered a loss of

consortium, companionship, and services and is entitled to recover for such

damages in an amount to be proven at trial.

                                         30.

      Plaintiffs are entitled to recover for the injuries and pain and suffering

proximately caused by Defendants’ negligence, and all other elements of damages

allowed under Georgia law, including but not limited to all compensatory, general,

special, incidental, consequential, punitive and other damages permitted. Plaintiffs

state their intention to seek all compensatory, general, special, incidental,

consequential, punitive and other damages permissible under Georgia law,

including, but not limited to the following which were proximately caused by

Defendants’ negligence:

    a) Personal and physical injuries;

    b) Past, present, and future pain and suffering;

    c) Past, present, and future lost wages;

    d) Past, present, and future medical expenses, likely exceeding $110,000.00;

    e) Permanent injuries;

    f) Disfigurement;

    g) Amputation;


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   h) Mental anguish, disability, and emotional distress;

   i) Loss of the capacity for the enjoyment of life;

   j) Lost ability to labor;

   k) Loss of consortium;

   l) Incidental expenses;

   m) Consequential damages to be proven at trial; and

   n) All items of damages recoverable under Georgia law.

                                       31.

      Each of the foregoing acts and omissions constitute an independent act of

negligence on the part of Defendants and one or more or all above-stated acts were

the proximate causes of the injuries to Plaintiffs. Defendants are jointly and

severally liable for the injuries to Plaintiffs and all damages recoverable under

Georgia law.

                                       32.

      Plaintiffs are entitled to an award of punitive damages, without limitation or

cap, because the actions of Defendants and their agents and employees showed

willful misconduct, malice, fraud, wantonness, oppression, and an entire want of

care, which would raise the presumption of a conscious indifference to

consequences and/or a specific intent to cause harm.




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                                       33.

      Defendants’ actions evidence a species of bad faith, were and are stubbornly

litigious, and have caused Plaintiffs undue expense. Thus, Plaintiffs are entitled to

recover their necessary expenses of litigation, including an award of reasonable

attorney’s fees and expenses required by this action, pursuant to O.C.G.A. § 13-6-

11, O.C.G.A. § 9-11-68(e), and/or O.C.G.A. § 9-15-14, as well as any other

statutory or common law basis.WHEREFORE, Plaintiffs pray that:

   a) Process issue as provided by law;

   b) Plaintiffs be awarded actual damages in amounts to be shown at trial from

      the Defendants;

   c) Plaintiffs be awarded all general, special, compensatory, economic,

      consequential, punitive and other allowable damages in accordance with the

      enlightened conscience of an impartial jury from the Defendants;

   d) Plaintiffs be awarded a trial by jury; and

   e) Plaintiffs have such other relief as this Court deems just and appropriate

      under the circumstances.

TRIAL BY JURY IS HEREBY DEMANDED.

      This 17th day of December, 2021.




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                                        Respectfully submitted,

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